                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF GEORGIA
                           BRUNSWICK DIVISION

UNITED STATES OF AMERICA,               )
                                        )
      Plaintiff,                        )
                                        )
v.                                      )
                                        )       No. 2:19-CV-00099
AGAPE PRESCRIPTIONS “R” US,             )
INC., d/b/a DARIEN PHARMACY,            )
and JANICE ANN COLTER,                  )
                                        )
      Defendants.                       )

                                      ANSWER

      HERE COMES JAN COLTER, a defendant in the above style case, and makes

this her personal answer to the Complaint filed against her by the Federal

Government.

                                  FIRST DEFENSE

     Plaintiff fails to state a claim upon which relief may be granted.

                                SECOND DEFENSE

     Plaintiff’s claims are barred by the doctrine of Res Judicata.

                                 THIRD DEFENSE

     Plaintiff’s claims are barred by the doctrine of Double Jeopardy

                   ANSWER TO ALLEGATIONS OF THE COMPLAINT


      1.     Defendant does not have enough information to admit or deny

                                            2
paragraph one of the Complaint.

      2.    Defendant does not have enough information to admit or deny

paragraph two of the Complaint.

      3.    Defendant does not have enough information to admit or deny

paragraph three of the Complaint.

      4.    Defendant does not have enough information to admit or deny

paragraph four of the Complaint.

      5.    Defendant denies paragraph five of the Complaint.




                                       2
6.    Defendant denies paragraph six of the Complaint.

7.    Defendant admits paragraph seven of the Complaint.

8.    Defendant admits paragraph eight of the Complaint.

9.    Defendant admits paragraph nine of the Complaint.

10.   Defendant admits paragraph ten of the Complaint.

11.   Defendant admits paragraph eleven of the Complaint.

12.   Defendant admits paragraph twelve of the Complaint.
13.   Defendant admits paragraph thirteen of the Complaint.

14.   Defendant admits paragraph fourteen of the Complaint.

15.   Defendant admits paragraph fifteen of the Complaint.

16.   Defendant admits paragraph sixteen of the Complaint.

17.   Defendant admits paragraph seventeen of the Complaint.

18.   Defendant admits paragraph eighteen of the Complaint.

19.   Defendant admits paragraph nineteen of the Complaint.

20.   Defendant admits paragraph twenty of the Complaint.

21.   Defendant admits paragraph twenty-one of the Complaint.

22.   Defendant admits paragraph twenty-two of the Complaint.

23.   Defendant admits paragraph twenty-three of the Complaint.

24.   Defendant admits paragraph twenty-four of the Complaint.

25.   Defendant admits paragraph twenty-five of the Complaint.

26.   Defendant admits paragraph twenty-six of the Complaint.

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      27.   Defendant admits paragraph twenty-seven of the Complaint.

      28.   Defendant admits paragraph twenty-eight of the Complaint.

      29.   Defendant admits paragraph twenty-nine of the Complaint.

      30.   Defendant denies paragraph thirty of the Complaint.

      31.   Defendant admits paragraph thirty-one of the Complaint.

      32.   Defendant admits paragraph thirty-two of the Complaint.

      33.   Defendant admits paragraph thirty-three of the Complaint.

      34.   Defendant admits paragraph thirty-four of the Complaint.

      35.   Defendant denies paragraph thirty-five of the Complaint.

      36.   Defendant denies paragraph thirty-six of the Complaint.

      37.   Defendant admits paragraph thirty-seven of the Complaint.

      38.   Defendant does not have enough information to admit or deny

paragraph thirty-eight of the Complaint.

      39.   Defendant does not have enough information to admit or deny

paragraph thirty-nine of the Complaint.

      40.   Defendant does not have enough information to admit or deny

paragraph forty of the Complaint.

      41.   Defendant admits paragraph forty-one of the Complaint.

      42.   Defendant denies paragraph forty-two of the Complaint.

      43.   Defendant denies paragraph forty-three of the Complaint.

      44.   Defendant admits paragraph forty-four of the Complaint.


                                           3
      45.   Defendant denies paragraph forty-five of the Complaint.

      46.   Defendant denies paragraph forty-six of the Complaint.

      47.   Defendant denies paragraph forty-seven of the Complaint.

      48.   Defendant denies paragraph forty-eight of the Complaint.

      49.   Defendant denies paragraph forty-nine of the Complaint.

      50.   Defendant does not have enough information to admit or deny

paragraph fifty of the Complaint.

      51.   Defendant does not have enough information to admit or deny

paragraph fifty-one of the Complaint.

      52.   Defendant does not have enough information to admit or deny

paragraph fifty-two of the Complaint.

      53.   Defendant denies paragraph fifty-three of the Complaint.

      54.   Defendant denies paragraph fifty-four of the Complaint.

      55.   Defendant denies paragraph fifty-five of the Complaint.

      56.   Defendant admits paragraph fifty-six of the Complaint.

      57.   Defendant admits paragraph fifty-seven of the Complaint.

      58.   Defendant admits paragraph fifty-eight of the Complaint.

      59.   Defendant denies paragraph fifty-nine of the Complaint.

      60.   Defendant denies paragraph sixty of the Complaint.

      61.   Defendant admits paragraph sixty-one of the Complaint.

      62.   Defendant denies paragraph sixty-two of the Complaint.


                                        3
      63.   Defendant does not have enough information to admit or deny

paragraph sixty-three of the Complaint.

      64.   Defendant denies paragraph sixty-four of the Complaint.

      65.   Defendant denies paragraph sixty-five of the Complaint.

      66.   Defendant admits paragraph sixty-six of the Complaint.

      67.   Defendant admits paragraph sixty-seven of the Complaint.

      68.   Defendant does not have enough information to admit or deny

paragraph sixty-eight of the Complaint.

      69.   Defendant does not have enough information to admit or deny

paragraph sixty-nine of the Complaint.

      70.   Defendant does not have enough information to admit or deny

paragraph seventy of the Complaint.

      71.   Defendant does not have enough information to admit or deny

paragraph seventy-one of the Complaint.

      72.   Defendant does not have enough information to admit or deny

paragraph seventy-two of the Complaint.

      73.   Defendant does not have enough information to admit or deny

paragraph seventy-three of the Complaint.

      74.   Defendant admits paragraph seventy-four of the Complaint.

      75.   Defendant denies paragraph seventy-five of the Complaint.

      76.   Defendant admits paragraph seventy-six of the Complaint.


                                          3
      77.   Defendant denies paragraph seventy-seven of the Complaint.

      78.   Defendant denies paragraph seventy-eight of the Complaint.

      79.   Defendant denies paragraph seventy-nine of the Complaint.

      80.   Defendant denies paragraph eighty of the Complaint.

      81.   Defendant denies paragraph eighty-one of the Complaint.

      82.   Defendant denies paragraph eighty-two of the Complaint.

      83.   Defendant admits paragraph eighty-three of the Complaint.

      84.   Defendant admits paragraph eighty-four of the Complaint.

      85.   Defendant admits paragraph eighty-five of the Complaint.

      86.   Defendant admits paragraph eighty-six of the Complaint.

      87.   Defendant admits paragraph eighty-seven of the Complaint.

      88.   Defendant admits to paragraph eighty-eight of the Complaint.

      89.   Defendant admits paragraph eighty-nine of the Complaint.

      90.   Defendant admits paragraph ninety of the Complaint.

      91.   Defendant admits paragraph ninety-one of the Complaint.

      92.   Defendant admits paragraph ninety-two of the Complaint.

      93.   Defendant denies paragraph ninety-three of the Complaint.

      94.   Defendant denies paragraph ninety-four of the Complaint.

      95.   Defendant denies paragraph ninety-five of the Complaint.

      96.   Defendant does not have enough information to admit or deny

paragraph ninety-six of the Complaint.


                                         3
      97.    Defendant denies paragraph ninety-seven of the Complaint.

      98.    Defendant denies paragraph ninety-eight of the Complaint.

      99.    Defendant admits paragraph ninety-nine of the Complaint.

      100.   Defendant denies paragraph one-hundred of the Complaint.

      101.   Defendant denies paragraph one-hundred-and-one of the Complaint.

      102.   Defendant denies paragraph one-hundred-and-two of the Complaint.

      103.   Defendant denies paragraph one-hundred-and-three of the Complaint.

      104.   Defendant does not have information to admit or deny paragraph one-

hundred-and-four of the Complaint without access to the transcript.

      105.   Defendant admits paragraph one-hundred-and-five of the Complaint.

      106.   Defendant admits paragraph one-hundred-and-six of the Complaint.

      107.   Defendant admits paragraph one-hundred-and-seven of the Complaint.

      108.   Defendant denies paragraph one-hundred-and-eight of the Complaint.

      109.   Defendant admits paragraph one-hundred-and-nine of the Complaint.

      110.   Defendant denies paragraph one-hundred-and-ten of the Complaint.

      111.   Defendant denies paragraph one-hundred-and-eleven of the Complaint.

      112.   Defendant denies paragraph one-hundred-and-twelve of the Complaint.

      113.   Defendant   admits   paragraph    one-hundred-and-thirteen   of   the

Complaint.

      114.   Defendant   admits   paragraph    one-hundred-and-fourteen   of   the

Complaint.


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     115.    Defendant admits paragraph one-hundred-and-fifteen of the Complaint.

     116.    Defendant   admits   paragraph    one-hundred-and-sixteen   of   the

Complaint.

     117.    Defendant admits paragraph one-hundred-and-seventeen of the

Complaint.

     118.    Defendant   admits   paragraph   one-hundred-and-eighteen   of   the

Complaint.

     119.    Defendant   admits   paragraph   one-hundred-and-nineteen   of   the

Complaint.

     120.    Defendant   admits   paragraph    one-hundred-and-twenty    of   the

Complaint.

     121.    Defendant admits paragraph one-hundred-and-twenty-one of the

Complaint.

     122.    Defendant denies paragraph one-hundred-and-twenty-two of the

Complaint.

     123.    Defendant denies paragraph one-hundred-and-twenty-three of the

Complaint.

     124.    Defendant admits paragraph one-hundred-and-twenty-four of the

Complaint.

     125.    Defendant admits paragraph one-hundred-and-twenty-five of the

Complaint.


                                        3
     126.    Defendant admits paragraph one-hundred-and-twenty-six of the

Complaint.

     127.    Defendant admits paragraph one-hundred-and-twenty-seven of the

Complaint.

     128.    Defendant admits paragraph one-hundred-and-twenty-eight of the

Complaint.

     129.    Defendant admits to paragraph one-hundred-and-twenty-nine of the

Complaint.

     130.    Defendant denies paragraph one-hundred-and-thirty of the Complaint.

     131.    Defendant admits paragraph one-hundred-and-thirty-one of the

Complaint.

     132.    Defendant admits paragraph one-hundred-and-thirty-two of the

Complaint.

     133.    Defendant admits paragraph one-hundred-and-thirty-three of the

Complaint.

     134.    Defendant denies paragraph one-hundred-and-thirty-four of the

Complaint.

     135.    Defendant admits paragraph one-hundred-and-thirty-five of the

Complaint.

     136.    Defendant   denies   paragraph   one-hundred-and-thirty-six   of   the

Complaint.


                                        3
      137.   Defendant denies paragraph one-hundred-and-thirty-seven, to the

extent she denies any previous paragraph there enumerated.

      138.   Defendant denies paragraph one-hundred-and-thirty-eight of the

Complaint.

      139.   Defendant denies paragraph one-hundred-and-thirty-nine of the

Complaint.

      140.   Defendant denies paragraph one-hundred-and-forty of the Complaint.

      141.   Defendant   denies   paragraph   one-hundred-and-forty-one    of   the

Complaint.

      142.   Defendant   denies   paragraph   one-hundred-and-forty-two    of   the

Complaint to the extent she has already denied such allegations enumerated therein.

      143.   Defendant admits paragraph one-hundred-and-forty-three of the

Complaint.

      144.   Defendant   denies   paragraph   one-hundred-and-forty-four   of   the

Complaint.

      145.   Defendant   denies   paragraph   one-hundred-and-forty-five   of   the

Complaint.

      146.   Defendant   admits   paragraph    one-hundred-and-forty-six   of   the

Complaint.

      147.   Defendant denies paragraph one-hundred-and-forty-seven of the

Complaint.


                                        3
       148.   Defendant denies paragraph one-hundred-and-forty-eight of the

 Complaint.

       149.   Defendant    denies   paragraph    one-hundred-and-forty-nine   of   the

 Complaint.

       150.   Defendant denies the prayer for relief in its entirety.



This the 25th day of November, 2019.



                                       /s/ J. Wrix McIlvaine
                                       James Wrixam McIlvaine
                                       Attorney for Jan Colter
                                       State Bar No.: 436879
                                       1709 Reynolds Street
                                       Brunswick, Georgia 31520
                                       (912) 208-3721




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                             CERTIFICATE OF SERVICE

I have this day served Jan Colter’s Answer to the Complaint upon the United States of

America via electronic delivery via the Court’s Notice of Electronic Filing CM/ECF

system.



                               Bradford C. Patrick
                        Assistant United States Attorney
                          South Carolina Bar No. 102092
                               U.S. Attorney’s Office
                               Post Office Box 8970
                            Savannah, Georgia 31412



This the 25th day of November, 2019.



                                        /s/ J. Wrix McIlvaine
                                        James Wrixam McIlvaine
                                        Attorney for Jan Colter
                                        State Bar No.: 436879
                                        1709 Reynolds Street
                                        Brunswick, Georgia 31520
                                        (912) 208-3721
